       Case 5:17-cv-00962-FB-ESC Document 34 Filed 06/07/18 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


AARON RUBENSTEIN,                               §
                                                §
                  Plaintiff,                    §               5-17-CV-00962-FB-RBF
                                                §
vs.                                             §
                                                §
RICHARD N. AZAR, II, RAD2                       §
MANAGEMENT, LLC, RAD2                           §
MINERALS, LTD., SEGUNDO                         §
RESOURCES, LLC,                                 §
                                                §
                  Defendants.                   §

                                    MEDIATION ORDER

       On April 26, 2018, this matter was referred to the undersigned to conduct a mediation

conference with the parties. See Dkt. No. 32.

       Consistent with that referral, it is ORDERED:

       1.      Schedule and Attendance of Parties Required

       The parties and their lead counsel shall appear before the undersigned at 9:30 a.m. on
October 24, 2018, in Courtroom A, Fourth Floor, John H. Wood, Jr. United States Courthouse,
655 E. César E. Chávez Boulevard, San Antonio, Texas. Parties with full and complete
settlement authority are required to personally attend the mediation conference. Having a client
with authority available by telephone is not an acceptable alternative, except under the most
extenuating circumstances. Because the undersigned generally sets aside a half to full day for
each mediation, it is impossible for a party who is not present to appreciate the process and the
reasons that may justify a change in one’s perspective towards settlement.

       2.      Exchange of Demand and Offer; Mediation Documents

        A mediation is more likely to be productive if, before the conference, the parties
exchange written settlement proposals. Accordingly, if not already done, Plaintiff’s counsel is
invited to submit a written itemization of damages and settlement demand to Defendant’s
counsel with a brief explanation of why such a settlement is appropriate, on or before October
03, 2018. If Plaintiff’s counsel submits a demand, Defendant’s counsel must respond by
submitting a written counter-offer to Plaintiff’s counsel, with a brief explanation of why such a
settlement is appropriate, on or before October 08, 2018. On occasion, this process will lead
directly to a settlement. If a settlement agreement is reached, the parties must notify the Court.


                                                1
       Case 5:17-cv-00962-FB-ESC Document 34 Filed 06/07/18 Page 2 of 3




        If no settlement is reached, each party must submit to the undersigned, on or before
noon on October 12, 2018, an ex parte, in camera statement, in letter format, setting forth the
current status of settlement negotiations and the party’s respective settlement position concerning
all issues involved in the case, with a brief explanation of the rationale for the position taken.
The letter need not set out all the legal or factual arguments that would be made at a hearing or
trial but should provide the undersigned with a sufficient overview of the party’s position
supported by the applicable law. The letters should not exceed 3 pages, single-spaced, and
should include a realistic assessment of anticipated attorneys’ fees and costs in the event of trial
to final judgment. Counsel may e-mail (to richard_farrer@txwd.uscourts.gov (copy Rebecca
Magee        at      Rebecca_magee@txwd.uscourts.gov           and        Lizza     Ramirez       at
lizza_ramirez@txwd.uscourts.gov)) or hand-deliver the letters to chambers; do not file copies of
the letters with the Clerk. The undersigned will review the statements in advance of the
mediation conference, along with the pertinent pleadings in the case.

       3.      Mediation Format

        There is no set structure for the mediation conference. It will generally begin with a joint
session of the parties, which will include an opening statement by the undersigned, and, if
desirable, statements by each side. This will generally be followed by private caucusing by the
undersigned with each side. Both the lawyers and the party representatives are expected to be
fully prepared to participate. All parties are encouraged to keep an open mind in order to reassess
their previous positions and discover creative means for resolving the dispute. Parties should be
frank and open in their discussions, but the undersigned expects the parties at all times to address
each other with courtesy and respect.

       4.      Statements Inadmissible

        As provided by Federal Rule of Evidence 408 and Local Rule CV-88, any
communication made by any participant during the mediation is confidential. Except as specified
by those rules or as agreed to by the parties, such communications may not be disclosed, used as
evidence against any participant in any judicial or administrative proceeding, or held to
constitute a waiver of any existing claim, defense, privilege, or immunity.

       5.      Issues to be Discussed

       Parties should be prepared to discuss the following at the mediation conference:

               a.      What are your goals in the litigation and what problems would you like to
                       address in the mediation conference? What do you understand are the
                       opposing side’s goals?

               b.      What issues (in and outside of this lawsuit) need to be resolved? What are
                       the strengths and weaknesses of your case?

               c.      Do you understand the opposing side’s view of the case? What is wrong
                       with their perception? What is right with their perception?

                                                 2
       Case 5:17-cv-00962-FB-ESC Document 34 Filed 06/07/18 Page 3 of 3




               d.      What are the points of agreement and disagreement between the parties?
                       Factual? Legal?

               e.      What are the impediments to settlement? Legal? Financial? Emotional?

               f.      How can settlement better enable you to accomplish your goals?

               g.      Are there possibilities for a creative resolution of the dispute?

               h.      Do you have adequate information to discuss settlement? If not, how will
                       you obtain sufficient information to make a meaningful settlement
                       discussion possible?

               i.      Are there other outstanding lien holders or other third parties who should
                       be invited to participate in the mediation conference?

       6.      Involvement of Clients

       Involvement of clients and party representatives is essential to a productive mediation
conference. For many clients, this will be the first time they will participate in a court-supervised
mediation conference. Therefore, counsel should provide a copy of this Order to the client, and
discuss it with the client prior to the conference.

       7.      Post-Conference Procedure

        Following the settlement conference, the undersigned will “return” this case to the
District Court by informing the District Court in writing, pursuant to Rule CV-88(I), whether the
case did or did not settle. The “return” document will be filed with the official court papers and
distributed by the Clerk’s Office to the parties. No other information will be transmitted to the
District Judge by the undersigned directly or through any party. If the case does settle, the
“return” will inform the District Court as to the date by which the parties will submit final
settlement papers. Neither the mediation statements, nor notes or information created or received
by the undersigned, nor the substance of any such document, will be provided to the District
Court. If the case does not settle, the case may be referred to a different magistrate judge within
this District and Division who is not privy to the parties’ confidential settlement discussions.

       IT IS SO ORDERED.

       SIGNED this 7th day of June, 2018.




                                      RICHARD B. FARRER
                                      UNITED STATES MAGISTRATE JUDGE

                                                 3
